                                                                                                                                                                                                        Page:       1
                                         Case 17-05047                Doc 25     Filed 04/26/18 Entered 04/26/18 10:17:06                                    Desc Main
                                                                                             FORM 1
                                                                         INDIVIDUAL Document    Page
                                                                                    ESTATE PROPERTY   1 of 4AND REPORT
                                                                                                    RECORD
                                                                                                    ASSET CASES
Case No:               17-05047                           TAB           Judge:        Timothy A. Barnes                           Trustee Name:                      N. Neville Reid, Trustee
Case Name:             CAROL A. PEDEN                                                                                             Date Filed (f) or Converted (c):   02/22/2017 (f)
                                                                                                                                  341(a) Meeting Date:               03/23/2017
For Period Ending:     03/31/2018                                                                                                 Claims Bar Date:                   07/25/2017


                                    1                                                2                            3                            4                          5                             6

                         Asset Description                                         Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                            Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                   Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                             Exemptions,                                                                              Assets
                                                                                                           and Other Costs)

  1. 9724 S. KARLOV UNIT 202                                                              62,655.00                        0.00                                                       0.00                        FA
     OAK LAWN IL 60453-0000 COOK
  2. 2000 VOLKSWAGON CABIO                                                                     650.00                      0.00                                                       0.00                        FA
  3. HOUSEHOLD GOODS & FURNITURE                                                               300.00                      0.00                                                       0.00                        FA
  4. TV & ELECTRONICS                                                                          175.00                      0.00                                                       0.00                        FA
  5. NORMAL APPAREL                                                                            300.00                      0.00                                                       0.00                        FA
  6. BANK OF AMERICA                                                                           700.00                      0.00                                                       0.00                        FA
  7. BANK OF AMERICA                                                                           110.00                      0.00                                                       0.00                        FA
  8. HSBC BANK 237 SHARES                                                                  1,806.00                        0.00                                                       0.00                   8,022.00
  9. ERISA QUALIFIED                                                                      25,500.00                        0.00                                                       0.00                        FA
 10. 2016 TAXES                                                                            1,300.00                        0.00                                                       0.00                        FA


                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                      $93,496.00                      $0.00                                                     $0.00                    $8,022.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  Case Status April 2018: Debtor's stock has been turned over to the Trustee. A broker will be employed to liquidate same.




  Initial Projected Date of Final Report (TFR): 12/31/2017              Current Projected Date of Final Report (TFR): 10/01/2018

  Trustee Signature:       /s/ N. Neville Reid, Trustee         Date: 04/25/2018
                                                                                                    Page:   2
             Case 17-05047
N. Neville Reid, Trustee
                                    Doc 25   Filed 04/26/18 Entered 04/26/18 10:17:06   Desc Main
Fox, Swibel, Levin & Carroll, LLP               Document Page 2 of 4
200 West Madison Street
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                                     Case 17-05047                Doc 25 Filed 04/26/18
                                                                                      FORM 2Entered 04/26/18 10:17:06                          Desc Main
                                                                  ESTATE CASH Document     Page 3 of 4
                                                                              RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 17-05047                                                                                       Trustee Name: N. Neville Reid, Trustee
      Case Name: CAROL A. PEDEN                                                                                      Bank Name:
                                                                                                            Account Number/CD#:


  Taxpayer ID No:                                                                                  Blanket Bond (per case limit): $54,646,000.00
For Period Ending: 03/31/2018                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                   5                  6                     7

Transaction Date    Check or            Paid To / Received From                   Description of Transaction              Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                 Code                                                          ($)
                                No Bank Accounts



                                                                                                      COLUMN TOTALS                                    $0.00                $0.00
                                                                                                            Less: Bank Transfers/CD's                  $0.00                $0.00
                                                                                                      Subtotal                                         $0.00                $0.00
                                                                                                            Less: Payments to Debtors                  $0.00                $0.00
                                                                                                      Net                                              $0.00                $0.00




                                                                             Page Subtotals:                                                           $0.00                $0.00
                                                                                                                                                                   Page:     2
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                                                                                               TOTAL OF ALL ACCOUNTS
                                                                                                                                               NET             ACCOUNT
                                                                                                             NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                                     -                                                                 $0.00                  $0.00                 $0.00
                                                                                                                       $0.00                  $0.00                 $0.00

                                                                                                           (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                   transfers)            to debtors)
                                                    Total Allocation Receipts:                    $0.00
                                                    Total Net Deposits:                           $0.00
                                                    Total Gross Receipts:                         $0.00



Trustee Signature:   /s/ N. Neville Reid, Trustee   Date: 04/25/2018

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                     Fox, Swibel, Levin & Carroll, LLP
                     200 West Madison Street
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                     Chicago, IL 60606
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                     nreid@fslc.com




                                                                            Page Subtotals:                                       $0.00                $0.00
